EXHIBIT 1
8/10/22, 10:03 AM                                                    Case.net: 22SL-CC03010 - Docket Entries




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                    22SL-CC03010 - MIDWEST HEMORRHOID TR V MEDICAL DISPOSABLES C
                                             ET A (E-CASE)

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                                                                Descending                                              All Entries
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  07/20/2022            Notice of Service
                        Affidavit of Service on Jennifer Munoz on July 14 2022 at 12.58 pm.
                            Filed By: MAX GEORGE MARGULIS
                            On Behalf Of: MIDWEST HEMORRHOID TREATMENT CENTER TOWN & COUNTRY LLC
                        Notice of Service
                        Affidavit of Service on Ralph Hernandez on July 14 2022 at 12.58 pm.
                            Filed By: MAX GEORGE MARGULIS
                        Notice of Service
                        Affidavit of Service on Medical Disposables Corp on July 14 2022 at 12.58 pm.
                            Filed By: MAX GEORGE MARGULIS

  07/13/2022            Motion for Extension of Time
                        Motion for Extension of time to serve Defendants Medical Disposables Corp R Hernandez and J
                        Munoz.
                          Filed By: MAX GEORGE MARGULIS
                          On Behalf Of: MIDWEST HEMORRHOID TREATMENT CENTER TOWN & COUNTRY LLC

  06/22/2022            Summ Issd- Circ Pers Serv O/S
                        Document ID: 22-SMOS-552, for MUNOZ, JENNIFER.Summons Attached in PDF Form for Attorney to
                        Retrieve from Secure Case.Net and Process for Service.
                        Summ Issd- Circ Pers Serv O/S
                        Document ID: 22-SMOS-551, for HERNANDEZ, RALPH.Summons Attached in PDF Form for Attorney
                        to Retrieve from Secure Case.Net and Process for Service.
                        Summ Issd- Circ Pers Serv O/S
                        Document ID: 22-SMOS-550, for MEDICAL DISPOSABLES CORP.Summons Attached in PDF Form
                        for Attorney to Retrieve from Secure Case.Net and Process for Service.
                        Judge Assigned

  06/21/2022            Filing Info Sheet eFiling
                            Filed By: MAX GEORGE MARGULIS
                        Note to Clerk eFiling
                            Filed By: MAX GEORGE MARGULIS
                        Motion Special Process Server
                        Request for Appointment of Process Server for Medical Disposables Corp Ralph Hernandez and
                        Jennifer Munoze.
                           Filed By: MAX GEORGE MARGULIS

https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                                 1/2
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                          On Behalf Of: MIDWEST HEMORRHOID TREATMENT CENTER TOWN & COUNTRY LLC
                      Motion Filed
                      Plaintiffs Memorandum of Law in supprt of its Motion for Class Certification.
                         Filed By: MAX GEORGE MARGULIS
                      Motion Filed
                      Motion for Class Certification.
                        Filed By: MAX GEORGE MARGULIS
                      Pet Filed in Circuit Ct
                      Class Action Petition.
                         Filed By: MAX GEORGE MARGULIS
                      Judge Assigned
                      DIV 6
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                                                                                  22SL-CC03010


STATE OF MISSOURI              )
                               )
ST. LOUIS COUNTY               )

                      IN THE CIRCUIT COURT OF THE ST. LOUIS COUNTY
                                   STATE OF MISSOURI

 MIDWEST HEMORRHOID TREATMENT CENTER
 TOWN & COUNTRY, LLC., individually and on                      Cause No. _______________
 behalf of all others similarly-situated,
                                                                Division
         Plaintiff,

 v.

 MEDICAL DISPOSABLES CORP,                                      PROCESS SERVER
      Jennifer Munoz, Registered Agent
      6831 Edgewater Commerce Pkwy, Suite 1101
      Orlando, FL 32810
      Orange County

 RALPH HERNANDEZ                                                PROCESS SERVER
      3352 Stonewyck St,
      Orlando, FL 32824
      Orange County

 JENNIFER MUNOZ                                                 PROCESS SERVER
      3352 Stonewyck St,
      Orlando, FL 32824
      Orange County

 and

 JOHN DOES 1-10,                                                HOLD SERVICE

         Defendants.

                                   CLASS ACTION PETITION

       Plaintiff MIDWEST HEMORRHOID TREATMENT CENTER TOWN & COUNTRY,

LLC (“Plaintiff”), brings this action on behalf of itself and all others similarly situated, through its




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attorneys, and except as to those allegations pertaining to Plaintiff or its attorneys, which

allegations are based upon personal knowledge, alleges the following upon information and belief

against Defendants MEDICAL DISPOSABLES CORP, RALPH HERNANDEZ, JENNIFER

MUNOZ and JOHN DOES 1-10 (“Defendants”):

                                 PRELIMINARY STATEMENT

       1.      This case challenges Defendants’ practice of sending unsolicited facsimile

advertisements.

       2.      The federal Telephone Consumer Protection Act, 47 USC § 227, prohibits a person

or entity from sending or having an agent send fax advertisements without the recipient’s prior

express invitation or permission (“advertising faxes” or “unsolicited faxes”) and without a proper

opt out notice. The TCPA provides a private right of action and provides statutory damages of

$500 per violation.

       3.      Unsolicited faxes damage their recipients. An advertising fax recipient loses the

use of its fax machine, paper, and ink toner. An unsolicited fax wastes the recipient’s valuable

time that would have been spent on something else. An advertising fax interrupts the recipient’s

privacy. Unsolicited faxes prevent fax machines from receiving authorized faxes, prevent their use

for authorized outgoing faxes, cause undue wear and tear on the recipients’ fax machines, and

require additional labor to attempt to discern the source and purpose of the unsolicited message.

An advertising fax consumes a portion of the limited capacity of the telecommunications

infrastructure serving the victims of advertising faxing.




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       4.      On behalf of itself and all others similarly situated, Plaintiff brings this case as a

class action asserting claims against Defendants under the TCPA, the common law of conversion

and Missouri consumer and fraud and deceptive business practices act Chapter 407.

       5.      Plaintiff seeks an award of statutory damages for each violation of the TCPA.

                                JURISDICTION AND PARTIES

       6.      This court has personal jurisdiction over Defendants because Defendants transacts

business within this state, have made contracts within this state, and/or have committed tortious

acts within this state and otherwise have sufficient minimum contacts with the State of Missouri.

       7.      Plaintiff MIDWEST HEMORRHOID TREATMENT CENTER TOWN &

COUNTRY, LLC, is a Missouri limited liability corporation with its principal place of business in

Missouri.

       8.      On information and belief, Defendant MEDICAL DISPOSABLES CORP, is a

corporation with its principal place of business in Orange County, Florida.

       9.      On information and belief, Defendant, RALPH HERNANDEZ, is an individual

who resides in St. Louis County, Missouri.

       10.     On information and belief, Defendant, JENNIFER MUNOZ, is an individual who

resides in St. Louis County, Missouri.

       11.     On information and belief, Defendant RALPH HERNANDEZ is the President,

CEO and COO of MEDICAL DISPOSABLES CORP.

       12.     On information and belief, Defendant JENNIFER MUNOZ is the Vice President,

and Registered Agent of MEDICAL DISPOSABLES CORP.




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       13.     Defendant RALPH HERNANDEZ, upon information and belief, exercised

direction and/or control over MEDICAL DISPOSABLES CORP, both generally and specifically

with regard to the composing and sending advertising faxes.

       14.     Defendant JENNIFER MUNOZ, upon information and belief, exercised direction

and/or control over MEDICAL DISPOSABLES CORP, both generally and specifically with

regard to the composing and sending advertising faxes.

       15.     Upon information and belief, Defendant, RALPH HERNANDEZ, is a principal

owner of MEDICAL DISPOSABLES CORP.

       16.     Upon information and belief, Defendant, JENNIFER MUNOZ, is a principal owner

of MEDICAL DISPOSABLES CORP.

       17.     Defendants, John Does 1-10 will be identified through discovery, but are not

presently known.

                                       RELEVANT FACTS

       18.     Defendants sent unsolicited facsimiles, including but not limited to the fax sent on

or about the dates of June 15, 2021, to Plaintiff in St. Louis County, Missouri. A true and correct

copy of the facsimiles are attached as Exhibit A (excluding any handwritten notations). This is

only an example of the fax sent by or on behalf of the Defendants to the Plaintiff.

       19.     The transmissions sent to Plaintiff on or about June 15, 2021, constitutes material

advertising the commercial availability of any property, goods or services.




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       20.     On information and belief, Defendants sent other facsimile transmissions of

material advertising the commercial availability of property, goods, or services to Plaintiff and

many other persons as part of a plan to broadcast fax advertisements, of which Exhibit A is an

example.

       21.     On information and belief, Defendants receive some or all of the revenues from the

sale of the products, goods and services advertised on Exhibit A, and Defendants profit and benefit

from the sale of the products, goods and services advertised on Exhibit A.

       22. On information and belief, Defendants faxed the same and other unsolicited facsimiles

of the fax advertisement attached hereto as Exhibit A to Plaintiff and at least 40 other recipients or

sent the same and other advertisements by fax without first receiving the recipients’ express

invitation or permission or without having an established business relationship as defined by the

TCPA and its regulations.

       23.     Defendants approved, authorized and participated in the scheme to broadcast fax

advertisements by (a) directing a list to be purchased or assembled; (b) directing and supervising

employees or third parties to send the faxes; (c) creating and approving the form of fax to be sent;

and (d) determining the number and frequency of the facsimile transmissions.

       24.     Defendants created or made Exhibit A and other fax advertisements, which

Defendants distributed to Plaintiff and the other members of the class.

       25.     Exhibit A and the other facsimile advertisements are a part of Defendants’ work or

operations to market Defendants’ goods or services which were performed by Defendants and on

behalf of Defendants.




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       26.     Exhibit A and the other facsimile advertisements constitute material furnished in

connection with Defendants’ work or operations.

       27.     The transmission of facsimile advertisements, including Exhibit A, to Plaintiff did

not contain a notice that informs the recipient of the ability and means to avoid future unsolicited

advertisements.

       28.     The transmission of facsimile advertisements, including Exhibit A, to Plaintiff did

not contain a notice that states that the recipient may make a request to the sender of the

advertisement not to send any future advertisements to a telephone facsimile machine or machines

and that failure to comply, within 30 days, with such a request meeting the requirements under

paragraph 47 C.F.R. § 64.1200(a)(4)(iii) of this section is unlawful.

       29.     The transmission of facsimile advertisements, including Exhibit A, to Plaintiff did

not contain a notice that complied with the provisions of 47 U.S.C. § 227(b)(1)(C) and/or 47

C.F.R. § 64.1200(a)(4)(iii).

       30.     The transmission of facsimile advertisements, including Exhibit A, to Plaintiff was

required to contain a notice that complied with the provisions of 47 U.S.C. § 227(b)(1)(C) and/or

47 C.F.R. § 64.1200(a)(4)(iii).

       31.     Defendant have never included any notice on any facsimile advertisements that

complied with the provisions of 47 U.S.C. § 227(b)(1)(C) and/or 47 C.F.R. § 64.1200(a)(4)(iii).

       32.     On information and belief, Defendants sent multiple facsimile advertisements to

Plaintiff and members of the proposed classes throughout the time period covered by the class

definitions.




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       33.     On information and belief, Defendants faxed the same and other facsimile

advertisements to the members of the proposed classes in Missouri and throughout the United

States without first obtaining the recipients’ prior express permission or invitation.

       34.     There is no reasonable means for Plaintiff (or any other class member) to avoid

receiving unlawful faxes.       Fax machines are left on and ready to receive the urgent

communications their owners desire to receive.

       35.     Defendants violated 47 U.S.C. § 227 et seq. by transmitting Exhibit A hereto to

Plaintiff and the other members of the class without obtaining their prior express permission or

invitation and not displaying the proper opt out notice required by 47 C.F.R. § 64.1200.

       36.     Defendants knew or should have known that: (a) facsimile advertisements,

including Exhibit A were advertisements; (b) Plaintiff and the other members of the class had not

given their prior permission or invitation to receive facsimile advertisements; (c) No established

business relationship existed with Plaintiff and the other members of the class; and (d) Defendants

did not display a proper opt out notice on the facsimile advertisements.

       37.     Defendants engaged in the transmissions of facsimile advertisements, including

Exhibit A believing such transmissions were legal based on Defendants’ own understanding of the

law and/or based on the representations of others on which Defendants reasonably relied.

       38.     Defendants did not intend to send transmissions of facsimile advertisements,

including Exhibit A to any person where such transmission was not authorized by law or by the

recipient, and to the extent that any transmissions of facsimile advertisement was sent to any

person and such transmission was not authorized by law or by the recipient, such transmission was




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made based on either Defendants’ own understanding of the law and/or based on the

representations of others on which Defendants reasonably relied.

       39.     Defendants failed to correctly determine the legal restrictions on the use of

facsimile transmissions and the application of those restrictions to the transmission of facsimile

advertisements, including Exhibit A both to others in general, and specifically to Plaintiff.

       40.     The transmissions of facsimile advertisements, including Exhibit A to Plaintiff and

other members of the class caused destruction of Plaintiff's property.

       41.     The transmissions of facsimile advertisements, including Exhibit A to Plaintiff and

other members of the class interfered with Plaintiff's and other members of the class’ exclusive use

of their property.

       42.     The transmissions of facsimile advertisements, including Exhibit A to Plaintiff and

other members of the class interfered with Plaintiff's and other members of the class’ business

and/or personal communications.

                                COUNT I
              TELEPHONE CONSUMER PROTECTION ACT, 47 U.S.C. § 227

       43.     Plaintiff incorporates the preceding paragraphs as though fully set forth herein.

       44.     Plaintiff brings Count I pursuant to the Telephone Consumer Protection Act, 47

U.S.C. § 227, on behalf of the following class of persons:

               All persons who (1) on or after four years prior to the filing of this action, (2)
               were sent by or on behalf of Defendants any telephone facsimile
               transmissions of material making known the commercial existence of, or
               making qualitative statements regarding any property, goods, or services (3)
               with respect to whom Defendants cannot provide evidence of prior express
               permission or invitation for the sending of such faxes, (4) with whom
               Defendants does not have an established business relationship or (5) which
               were sent an advertisement by fax which did not display a proper opt out
               notice.



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45.   A class action is warranted because:

      a.     On information and belief, the class includes more than forty persons and is

      so numerous that joinder of all members is impracticable.

      b.     There are questions of fact or law common to the class predominating over

      questions affecting only individual class members, including without limitation:

             i.     Whether Defendants engaged in a pattern of sending unsolicited fax

             advertisements;

             ii.    Whether Exhibit A and other faxes transmitted by or on behalf of

             Defendant contain material advertising the commercial availability of any

             property, goods or services;

             iii.   Whether     Defendants’     facsimiles   advertised   the   commercial

             availability of property, goods, or services;

             iv.    The manner and method Defendants used to compile or obtain the

             list of fax numbers to which they sent Exhibit A and other unsolicited faxed

             advertisements;

             v.     Whether Defendants faxed advertisements without first obtaining the

             recipients’ prior express permission or invitation;

             vi.    Whether Defendants violated the provisions of 47 U.S.C. § 227 or

             the regulations prescribed thereunder;

             vii.   Whether Plaintiff and the other class members are entitled to

             statutory damages;




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                       viii.   Whether Defendants knowingly violated the provisions of 47 U.S.C.

                       § 227 or the regulations prescribed thereunder;

                       ix.     Whether Defendants should be enjoined from faxing advertisements

                       in the future;

                       x.      Whether the Court should award trebled damages; and

                       xi.     Whether Exhibit A and the other fax advertisements sent by or on

                       behalf of Defendants displayed the proper opt out notice required by 47

                       C.F.R. § 64.1200.

               c.      Plaintiff’s claims are typical of the other class members.

               d.      Plaintiff will fairly and adequately protect the interests of the other class

               members. Plaintiff’s counsel are experienced in handling class actions and claims

               involving unsolicited advertising faxes. Neither Plaintiff nor Plaintiff’s counsel has

               any interests adverse or in conflict with the absent class members.

               e.      A class action is the superior method for adjudicating this controversy fairly

               and efficiently. The interest of each individual class member in controlling the

               prosecution of separate claims is small and individual actions are not economically

               feasible.

       46.     Plaintiff will fairly and adequately protect the interests of the other class members.

Plaintiff’s counsel are experienced in handling class actions and claims involving unsolicited

advertising faxes. Neither Plaintiff nor Plaintiff’s counsel has any interests adverse or in conflict

with the absent class members.




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       47.     A class action is an appropriate method for adjudicating this controversy fairly and

efficiently. The interest of each individual class member in controlling the prosecution of separate

claims is small and individual actions are not economically feasible.

       48.     The TCPA prohibits the “use of any telephone facsimile machine, computer or

other device to send an unsolicited advertisement to a telephone facsimile machine….” 47 U.S.C.

§ 227(b)(1).

       49.     The TCPA defines “unsolicited advertisement,” as “any material advertising the

commercial availability or quality of any property, goods, or services which is transmitted to any

person without that person’s express invitation or permission.” 47 U.S.C. § 227(a)(4).

       50.     The TCPA provides:

               Private right of action. A person may, if otherwise permitted by the laws or
               rules of court of a state, bring in an appropriate court of that state:

               (A)     An action based on a violation of this subsection or the regulations
               prescribed under this subsection to enjoin such violation,

               (B)     An action to recover for actual monetary loss from such a violation,
               or to receive $500 in damages for each such violation, whichever is greater,
               or

               (C)    Both such actions.

       51.     The Court, in its discretion, may treble the statutory damages if the violation was

knowing. 47 U.S.C. § 227.

       52.     The TCPA is a strict liability statute and the Defendants are liable to Plaintiff and

the other class members even if their actions were only negligent.

       53.     Defendants’ actions caused damages to Plaintiff and the other class members.

Receiving Defendants’ advertising faxes caused the recipients to lose paper and toner consumed in




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the printing of Defendants’ faxes. Moreover, Defendants’ actions interfered with Plaintiff’s use of

its fax machine and telephone line connected to that fax machine. Defendants’ faxes cost Plaintiff

time, as Plaintiff and/or its employees wasted their time receiving, reviewing and routing

Defendants’ unlawful faxes. That time otherwise would have been spent on Plaintiff’s business

activities.   Finally, Defendants’ faxes unlawfully interrupted Plaintiff’s and the other class

members’ privacy interests in being left alone.

        54.     Defendants did not intend to cause damage to Plaintiff and the other class members,

did not intend to violate their privacy, and did not intend to interfere with recipients’ fax machines

or consume the recipients’ valuable time with Defendants’ advertisements.

        55.     If the court finds that Defendants knowingly violated this subsection or the

regulations prescribed under this subsection, the court may, in its discretion, increase the amount

of the award to an amount equal to not more than three times the amount available under

subparagraph (B) of this paragraph. 47 U.S.C. § 227(b)(3).

        56.     Defendants knew or should have known that: (A) Plaintiff and the other class

members had not given express permission or invitation for Defendants or anyone else to fax

advertisements about Defendants’ goods or services, (B) Defendants did not have an established

business relationship with Plaintiff and the other members of the class, (C) Exhibit A and the other

facsimile advertisements were advertisements, and (D) Exhibit A and the other facsimile

advertisements did not display the proper opt out notice.

        57.     Defendants violated 47 U.S.C. § 227 et seq. by transmitting Exhibit A and the other

facsimile advertisements hereto to Plaintiff and the other members of the class without obtaining




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their prior express permission or invitation and not displaying the proper opt out notice required by

47 C.F.R. § 64.1200.

        58.     Defendants knew or should have known that: (a) documents Exhibit A and the

other facsimile advertisements were advertisements; (b) Defendants did not obtain prior

permission or invitation to send facsimile advertisements, including Exhibit A; (c) Defendants did

not have an established business relationship with Plaintiff or the other members of the class and

(d) Exhibit A and the other facsimile advertisements did not display a proper opt out notice.

        59.     Defendants engaged in the transmissions of documents Exhibit A and the other

facsimile advertisements believing such transmissions were legal based on Defendants’ own

understanding of the law and/or based on the representations of others on which Defendants

reasonably relied.

        60.     Discovery will show that multiple additional faxes that contain material advertising

the commercial availability of any property goods or services were transmitted to the Plaintiff's fax

number by the Defendants from June 15, 2021 to the present without the prior express permission

of the Plaintiff.

        61.     Defendants did not intend to send transmissions of documents Exhibit A and the

other facsimile advertisements to any person where such transmission was not authorized by law

or by the recipient, and to the extent that any transmissions of documents Exhibit A and the other

facsimile advertisements were sent to any person and such transmission was not authorized by law

or by the recipient, such transmission was made based on either Defendants’ own understanding of

the law and/or based on the representations of others on which Defendants reasonably relied.




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        62.    Defendants failed to correctly determine the legal restrictions on the use of

facsimile transmissions and the application of those restrictions to the transmission of documents

Exhibit A and the other facsimile advertisements both to others in general, and specifically to

Plaintiff.

        63.    Defendants’ actions caused damages to Plaintiff and the other class members,

because their receipt of Defendants’ unsolicited fax advertisements caused them to lose paper and

toner consumed as a result. Defendants’ actions prevented Plaintiff’s fax machine from being used

for Plaintiff’s business purposes during the time Defendants were using Plaintiff’s fax machine for

Defendants’ unauthorized purpose. Defendants’ actions also cost Plaintiff employee time, as

Plaintiff’s employees used their time receiving, routing and reviewing Defendants’ unauthorized

faxes and that time otherwise would have been spent on Plaintiff’s business activities. Finally, the

injury and property damage sustained by Plaintiff and the other members of the class occurred

outside of Defendants’ premises. Pursuant to law, Plaintiff, and each class member, instead may

recover $500 for each violation of the TCPA.

        64.    Opt-Out Notice Requirements. The JFPA strengthened the prohibitions against

the sending of unsolicited advertisements by requiring, in § (b)(1)(C)(iii) of the Act, that senders of

faxed advertisements place a clear and conspicuous notice on the first page of the transmission that

contains the following among other things (hereinafter collectively the “Opt-Out Notice

Requirements”):

               (1)     A statement that the recipient is legally entitled to opt-out of receiving

        future faxed advertisements – knowing that he or she has the legal right to request an opt-

        out gives impetus for recipients to make such a request, if desired;




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              (2)     A statement that the sender must honor a recipient’s opt-out request within

       30 days and the sender’s failure to do so is unlawful – thereby encouraging recipients to

       opt-out, if they did not want future faxes, by advising them that their opt-out requests will

       have legal “teeth”;

              (3)     A statement advising the recipient that he or she may opt-out with respect to

       all of his or her facsimile telephone numbers and not just the ones that receive a faxed

       advertisement from the sender – thereby instructing a recipient on how to make a valid opt-

       out request for all of his or her fax machines;

              (4)     The opt-out language must be conspicuous.

       The requirement of (1) above is incorporated from § (b)(D)(ii) of the Act. The requirement

of (2) above is incorporated from § (b)(D)(ii) of the Act and the rules and regulations of the

Federal Communications Commission (the “FCC”) in ¶ 31 of its 2006 Report and Order (In the

Matter of Rules and Regulations Implementing the Telephone Consumer Protection Act, Junk

Prevention Act of 2005, 21 F.C.C.R. 3787, 2006 WL 901720, which rules and regulations took

effect on August 1, 2006). The requirements of (3) above are contained in § (b)(2)(E) of the Act

and incorporated into the Opt-Out Notice Requirements via § (b)(2)(D)(ii). Compliance with the

Opt-Out Notice Requirements is neither difficult nor costly. The Opt-Out Notice Requirements are

important consumer protections bestowed by Congress upon the owners of the telephone lines and

fax machines giving them the right, and means, to stop unwanted faxed advertisements.

       65.    2006 FCC Report and Order. The JFPA, in § (b)(2) of the Act, directed the FCC

to implement regulations regarding the JFPA, including the JFPA’s Opt-Out Notice Requirements

and the FCC did so in its 2006 Report and Order, which in addition provides among other things:




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       A.      The definition of, and the requirements for, an established business

relationship for purposes of the first of the three prongs of an exemption to liability under

§ (b)(1)(C)(i) of the Act and provides that the lack of an “established business relationship”

precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See 2006

Report and Order ¶¶ 8-12 and 17-20);

       B.      The required means by which a recipient’s facsimile telephone number must

be obtained for purposes of the second of the three prongs of the exemption under §

(b)(1)(C)(ii) of the Act and provides that the failure to comply with these requirements

precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See 2006

Report and Order ¶¶ 13-16);

       C.      The things that must be done in order to comply with the Opt-Out Notice

Requirements for the purposes of the third of the three prongs of the exemption under §

(b)(1)(C)(iii) of the Act and provides that the failure to comply with these requirements

precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See 2006

Report and Order ¶¶ 24-34);

       WHEREFORE, Plaintiff, MIDWEST HEMORRHOID TREATMENT CENTER

TOWN & COUNTRY, LLC, individually and on behalf of all others similarly situated,

demand judgment in its favor and against Defendants, MEDICAL DISPOSABLES CORP,

RALPH HERNANDEZ, JENNIFER MUNOZ and JOHN DOES 1-10, jointly and

severally, as follows:




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          A.    That the Court adjudge and decree that the present case may be properly maintained

as a class action, appoint Plaintiff as the representative of the class, and appoint Plaintiff’s counsel

as counsel for the class;

          B.    That the Court award between $500.00 and $1,500.00 in damages for each violation

of the TCPA;

          C.    That the Court enter an injunction prohibiting the Defendants from engaging in the

statutory violations at issue in this action; and

          D.    That the Court award costs and such further relief as the Court may deem just and

proper.

          E.    That the Court award pre-judgment and post-judgment interest at the statutory rate

of 9%.

                                          COUNT II
                                     DECLARATORY RELIEF

          66.    Plaintiff incorporates by reference all allegations of all preceding paragraphs as if

fully set forth herein.

          67.   As a result of Defendants’ actions, described herein, a justiciable controversy that

presents a real, substantial, presently-existing controversy admitting of specific relief, and Plaintiff

and the Class have legally protectable interests at stake.

          68.   A declaration that Defendants’ actions, as described herein, violate the TCPA is

warranted.




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                                            COUNT III
                                           CONVERSION

       69.      Plaintiff incorporates Paragraphs 3 and 4, 18, 23 – 26, 32 – 34 and 37 – 42 as for its

paragraph 69.

       70.      Plaintiff brings Count III for conversion under the common law for the following

class of persons:

                All persons who on or after five years prior to the filing of this action, were
                sent telephone facsimile messages by or on behalf of Defendants with respect
                to whom Defendants cannot provide evidence of prior express permission or
                invitation.

       71.      A class action is proper in that:

                a.     On information and belief, the class is so numerous that joinder of all

                members is impracticable.

                b.     There are questions of fact or law common to the class predominating over

                all questions affecting only individual class members, including:

                       i.       Whether Defendants engaged in a pattern of sending unsolicited

                       faxes;

                       ii.      Whether Defendants sent faxes without obtaining the recipients’

                       prior express permission or invitation of the faxes;

                       iii.     The manner and method Defendants used to compile or obtain the

                       list of fax numbers to which it sent Exhibit A and other unsolicited faxes;

                       iv.      Whether Defendants committed the tort of conversion; and

                       v.       Whether Plaintiff and the other class members are entitled to recover

                       actual damages and other appropriate relief.




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                c.      Plaintiff’s claims are typical of the other class members.

                d.      Plaintiff will fairly and adequately protect the interests of the other class

                members. Plaintiff’s counsel are experienced in handling class actions and claims

                involving unsolicited advertising faxes. Neither Plaintiff nor Plaintiff’s counsel has

                any interests adverse or in conflict with the absent class members.

                e.      A class action is the superior method for adjudicating this controversy fairly

                and efficiently. The interest of each individual class member in controlling the

                prosecution of separate claims is small and individual actions are not economically

                feasible.

        72.     Plaintiff will fairly and adequately protect the interests of the other class members.

Plaintiff has retained counsel who is experienced in handling class actions and claims involving

unlawful business practices. Neither Plaintiff nor Plaintiff’s counsel have any interests adverse or

in conflict with the class.

        73.     A class action is an appropriate method for adjudicating this controversy fairly and

efficiently. The interest of the individual class members in individually controlling the prosecution

of separate claims is small and individual actions are not economically feasible.

        74.     By sending Plaintiff and the other class members unsolicited faxes, Defendants

improperly and unlawfully converted their fax machines, toner and paper to its own use.

Defendants also converted Plaintiff’s employees’ time to Defendants’ own use.

        75.     Immediately prior to the sending of the unsolicited faxes, Plaintiff, and the other

class members owned an unqualified and immediate right to possession of their fax machine,

paper, toner, and employee time.




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        76.     By sending the unsolicited faxes, Defendants permanently misappropriated the class

members’ fax machines, toner, paper, and employee time to Defendants’ own use.                Such

misappropriation was wrongful and without authorization.

        77.     Defendants knew or should have known that its misappropriation of paper, toner,

and employee time was wrongful and without authorization.

        78.     Plaintiff and the other class members were deprived of the use of the fax machines,

paper, toner, and employee time, which could no longer be used for any other purpose. Plaintiff

and each class member thereby suffered damages as a result of the sending of unsolicited fax

advertisements from Defendants.

        79.     Each of Defendants’ unsolicited faxes effectively stole Plaintiff’s employees’ time

because persons employed by Plaintiff were involved in receiving, routing, and reviewing

Defendants’ unlawful faxes. Defendants knew or should have known employees’ time is valuable

to Plaintiff.

        80.     Defendants’ actions caused damages to Plaintiff and the other members of the class

because their receipt of Defendants’ unsolicited faxes caused them to lose paper and toner as a

result. Defendants’ actions prevented Plaintiff’s fax machines from being used for Plaintiff’s

business purposes during the time Defendants was using Plaintiff’s fax machines for Defendants’

unlawful purpose. Defendants’ actions also cost Plaintiff employee time, as Plaintiff’s employees

used their time receiving, routing, and reviewing Defendants’ unlawful faxes, and that time

otherwise would have been spent on Plaintiff’s business activities.




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       WHEREFORE, Plaintiff, MIDWEST HEMORRHOID TREATMENT CENTER TOWN

& COUNTRY, LLC, individually and on behalf of all others similarly situated, demand judgment

in its favor and against Defendants, MEDICAL DISPOSABLES CORP, RALPH HERNANDEZ,

JENNIFER MUNOZ and JOHN DOES 1-10, jointly and severally, as follows:

       A.       That the Court adjudge and decree that the present case may be properly maintained

as a class action, appoint Plaintiff as the representative of the class, and appoint Plaintiff’s counsel

as counsel for the class;

       B.       That the Court award appropriate damages;

       C.       That the Court award costs of suit; and

       D.       Awarding such further relief as the Court may deem just and proper.

                            COUNT IV
   MISSOURI CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                            Chapter 407

       81.      Plaintiff incorporates Paragraphs 3 and 4, 18, 23 – 26, 32 – 34 and 37 – 42 as for its

paragraph 81.

       82.      In accordance with Chapter 407, Plaintiff, on behalf of the following class of

persons, bring Count IV for Defendants’ unfair practice of sending unsolicited and unlawful fax

advertisements:

       All persons who on or after four years prior to the filing of this action, were sent
       telephone facsimile messages by or on behalf of Defendants with respect to whom
       Defendants cannot provide evidence of prior express permission or invitation.
       83.    A class action is proper in that:

                a.     On information and belief, the class consists of over 40 persons in Missouri

                and throughout the United States and is so numerous that joinder of all members is

                impracticable.



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b.      There are questions of fact or law common to the class predominating over

all questions affecting only individual class members including:

        i.       Whether Defendants engaged in a pattern of sending unsolicited

        faxes;

        ii.      The manner and method Defendants used to compile or obtain the

        list of fax numbers to which it sent Exhibit A and other unsolicited faxes;

        iii.     Whether Defendants’ practice of sending unsolicited faxes violates

        Missouri public policy;

        iv.      Whether Defendants’ practice of sending unsolicited faxes is an

        unfair practice under the Missouri Merchandising Practices Act (MMPA),

        Chapter 407 RSMO; and

        v.       Whether Defendants should be enjoined from sending unsolicited

        fax advertising in the future.

c.      Plaintiff’s claims are typical of the other class members.

d.      Plaintiff will fairly and adequately protect the interests of the other class

members. Plaintiff’s counsel are experienced in handling class actions and claims

involving unsolicited advertising faxes. Neither Plaintiff nor Plaintiff’s counsel has

any interests adverse or in conflict with the absent class members.

e.      A class action is the superior method for adjudicating this controversy fairly

and efficiently. The interest of each individual class member in controlling the

prosecution of separate claims is small and individual actions are not economically

feasible.




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        84.     Plaintiff will fairly and adequately protect the interests of the other class members.

Plaintiff has retained counsel who are experienced in handling class actions and claims involving

lawful business practices. Neither Plaintiff nor Plaintiff’s counsel have any interests adverse or in

conflict with the class.

        85.     A class action is an appropriate method for adjudicating this controversy fairly and

efficiently. The interest of the individual class members in individually controlling the prosecution

of separate claims is small and individual actions are not economically feasible.

        86.     Defendants’ unsolicited fax practice is an unfair practice, because it violates public

policy, and because it forced Plaintiff and the other class members to incur expense without any

consideration in return.    Defendants’ practice effectively forced Plaintiff and the other class

members to pay for Defendants’ advertising campaign.

        87.     Defendants violated the unfairness predicate of the Act by engaging in an

unscrupulous business practice and by violating Missouri statutory public policy, which public

policy violations in the aggregate caused substantial injury to hundreds of persons.

        88.     Defendants’ misconduct caused damages to Plaintiff and the other members of the

class, including the loss of paper, toner, ink, use of their facsimile machines, and use of their

employees’ time.

        89.     Defendants’ actions caused damages to Plaintiff and the other class members

because their receipt of Defendants’ unsolicited faxes caused them to lose paper and toner

consumed as a result. Defendants’ actions prevented Plaintiff’s fax machine from being used for

Plaintiff’s business purposes during the time Defendants were using Plaintiff's fax machine for

Defendants’ unlawful purpose.        Defendants’ actions also cost Plaintiff employee time, as




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Plaintiff’s employees used their time receiving, routing, and reviewing Defendants’ unlawful faxes

and that time otherwise would have been spent on Plaintiff’s business activities.

       WHEREFORE, Plaintiff, MIDWEST HEMORRHOID TREATMENT CENTER TOWN

& COUNTRY, LLC, individually and on behalf of all others similarly situated, demand judgment

in its favor and against Defendants, MEDICAL DISPOSABLES CORP, RALPH HERNANDEZ,

JENNIFER MUNOZ and JOHN DOES 1-10, jointly and severally, as follows:

       A.      That the Court adjudge and decree that the present case may be properly maintained

as a class action, appoint Plaintiff as the class representative, and appoint Plaintiff’s counsel as

counsel for the class;

       B.      That the Court award damages to Plaintiff and the other class members;

       C.      That the Court award treble damages to Plaintiff and the other class members for

               willful or knowing violations of the TCPA;

       D.      That the Court declare that Defendants’ conduct violated the TCPA and that this

               action is just and proper;

       E.      That the Court award damages for conversion of the plaintiffs and the class for

               violation of their rights;

       F.      That the Court award attorney fees and costs;

       G.      That the Court award all expenses incurred in preparing and prosecuting these

               claims;

       H.      That the Court enter an injunction prohibiting Defendants from sending faxed

               advertisements; and

       I.      Awarding such further relief as the Court may deem just and proper.




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                        Respectfully submitted,


                                 /s/ Max G. Margulis
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                                                                    EXHIBIT A - pg 1
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                                                                    EXHIBIT A - pg 2
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                                                                    EXHIBIT A - pg 3
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                                                                    EXHIBIT A - pg 4
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                                                                    EXHIBIT A - pg 5
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                                                                                22SL-CC03010

                 IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
                                STATE OF MISSOURI

  MIDWEST HEMORRHOID TREATMENT CENTER
  TOWN & COUNTRY, LLC., individually and on                       Cause No. _______________
  behalf of all others similarly-situated,
                                                                  Division
            Plaintiff,

  v.

  MEDICAL DISPOSABLES CORP,
  RALPH HERNANDEZ, JENNIFER MUNOZ
  and JOHN DOES 1-10,

            Defendants.

                           MOTION FOR CLASS CERTIFICATION

       COMES NOW Plaintiff, individually and on behalf of all others similarly situated, by and

through its undersigned counsel, and for its Motion for Class Certification, states

       1.        This cause should be certified as a class because all of the necessary elements of

Rule 52.08 are met.

       2.        Plaintiff requests that the Court certify a class, so the common claims of the Class

members, based on a uniform legal theory and factual allegations applicable to all Class members,

can be resolved on a class-wide basis.

       3.        Plaintiff proposes the following Class definition:

                 All persons who (1) on or after four years prior to the filing of this action,
                 (2) were sent by or on behalf of Defendants any telephone facsimile
                 transmissions of material making known the commercial existence of, or
                 making qualitative statements regarding any property, goods, or services (3)
                 with respect to whom Defendants cannot provide evidence of prior express
                 permission or invitation for the sending of such faxes, (4) with whom
                 Defendants does not have an established business relationship or (5) which
                 were sent an advertisement by fax which did not display a proper opt out
                 notice.


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        4.      Under Rule 52.08(a)(1), to bring a Class action, the Class must be “so numerous

that joinder of all members is impracticable.” Rule 52.08(a)(1). Here, there are at least hundreds

of persons who fall within the Class definition. Thus, the numerosity requirement of Rule

52.08(a)(1) is satisfied.

        5.      There are questions of law or fact common to the Class members.

        6.      The claims or defenses of the representative parties are typical of the claims or

defenses of this Class.

        7.      Plaintiff and its counsel will fairly and adequately protect the interest of the Class.

        8.      Common issues of law or fact predominate over any individual issues, and a class

action is the superior method for the fair and efficient adjudication of this controversy.

        9.      The prosecution of separate actions by individual members of the class would

create a risk of inconsistent or varying adjudications which would establish incompatible standards

of conduct for the party opposing the class.

        10.     The prosecution of separate actions by individual members of the class would

create a risk of adjudications with respect to individual members of the class which would as a

practical matter be dispositive of the interests of the other members not parties to the adjudications

or substantially impair or impede their ability to protect their interests.

        11.     Plaintiff requests additional time to file an Amended Class Certification Motion

and Memorandum of Law after the Court sets up an appropriate discovery schedule. Written

discovery related to class certification issues is presently outstanding.

        WHEREFORE, Plaintiff prays that this Court certify this case as a class action, grant

statutory injunctive relief prohibiting Defendants from sending advertising materials via fax to

members of the class, and further pray that the Court appoint Plaintiff as Class Representative,


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appoint Plaintiff’s attorneys Class Counsel; that this Court allow Plaintiff additional time, for

completion of discovery related to class certification issues, to file an Amended Class Certification

Motion and Memorandum of Law; and for such other and further relief as the Court deems

appropriate under the circumstances.

       In the alternative if the Court determines that this class certification motion be dismissed

without prejudice as being premature, the Plaintiff requests that the Court issue an order that

Defendant not be allowed to make an offer of judgment or a settlement offer until the Court sets a

scheduling order and the Plaintiff is allowed time to conduct discovery and file a future class

certification motion pursuant to the Court’s scheduling order and that the future class certification

motion will relate back to the filing of the original class certification motion.

       Respectfully submitted,

                                          /s/ Max G. Margulis
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                                        Chesterfield, MO 63017
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                                     CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was served on the Defendants MEDICAL
DISPOSABLES CORP, RALPH HERNANDEZ, and JENNIFER MUNOZ at the same time as
the petition.

                                       /s/ Max G. Margulis

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                                 IN THE CIRCUIT COURT
                              FOR THE COUNTY OF ST. LOUIS
                                   STATE OF MISSOURI

 MIDWEST HEMORRHOID TREATMENT CENTER
 TOWN & COUNTRY, LLC., individually and on                      Cause No. _______________
 behalf of all others similarly-situated,
                                                                Division
         Plaintiff,

 v.

 MEDICAL DISPOSABLES CORP,
 RALPH HERNANDEZ, JENNIFER MUNOZ
 and JOHN DOES 1-10,

         Defendants.

                  PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT
                    OF ITS MOTION FOR CLASS CERTIFICATION


       NOW COMES Plaintiff, pursuant to Rule 52.08 of the Missouri Supreme Court Rules,

and submits this Memorandum of Law in Support of its Motion for Class Certification.

                                        INTRODUCTION

       Recent developments in class action practice make necessary the filing of this motion

with the petition. Defendants in class litigation have resorted to making individual settlement

offers to named plaintiffs before a class action is certified in an attempt to “pick-off” the putative

class representative and thereby derail the class action litigation. Most courts have rejected these

pick-off attempts and have held that the filing of a motion for class certification with the initial

petition or within a number of days after service of any settlement offer to a named plaintiff

staves off offers of judgment to the named plaintiff. Any settlement offer made after the filing of

the motion for class certification must be made on a class-wide basis. See Alpern v. UtiliCorp

United, 84 F.3d 1525 (8th Cir. 1996); March v. Medicredit, 2013 WL 6265070 at *4 (E.D. Mo.



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Dec. 4, 2013)(“Putative class action plaintiffs would be wise to immediately file such motions to

protect the class from similar motions to dismiss based on offers of judgment”); Geismann v. Be-

Thin, Inc., No. 4:15CV00615 ERW (E.D. Mo. May 11, 2015); Lafollette v. Liberty Mut. Fire Ins.

Co., 2015 No. 2:14CV04147 NKL (W.D. Mo. Jan. 9, 2015) (Order striking a defendant’s Rule

68 offer of judgment to only the named plaintiff prior to class certification and denying the

defendant’s motion to dismiss the named plaintiff’s claims as moot); Prater v Medicredit, 2014

WL 3973863, at *6-7 (E.D. Mo. Aug. 14, 2014) (citing March, 2013 WL 6265070, at *4); Goans

Acquisition, Inc. v. Merch. Solutions, LLC, 12-00539-CV-S-JTM, 2013 WL 5408460 at *6 n.4

(W.D. Mo. Sept. 26, 2013) (quoting Damasco v. Clearwater Corp., 662 F.3d 891, 896 (7th Cir.

2011)). E.g. Damasco v. Clearwire Corp., 662 F.3d 891, 896 (7th Cir. 2011), replaced with

Chapman v. First Index, Inc., 2015 WL 4652878, ---F.3d--- (7th Cir. 2015); Hooks v. Landmark

Industries, Inc., 797 F.3d 309 (U.S. 5th Crt Appeals 2015), Weiss v. Regal Collections, 385 F. 3d

337, 344 n.12 (3d Cir. 2004); see Jancik v. Cavalry Portfolio Servs., 2007 WL 1994026, at *2–3

(D. Minn. July 3, 2007) Harris v. Messerli & Kramer, P.A., 2008 WL 508923, at *2–3 (D. Minn.

Jan. 2, 2008) (same); Johnson v. U.S. Bank Nat’l Assn., 276 F.R.D. 330, 333-335 (D. Minn.

2011) (same). See also Lucero v. Bureau of Collection Recovery, Inc., 639 F.3d 1239, 1249 (10th

Cir. 2011); Mey v. Monitronics Int’l, Inc., 2012 WL 983766, at *4-5 (N.D. W.Va. Mar. 22,

2012); Hrivnak v. NCO Portfolio Mgmt., Inc., 723 F.Supp.2d 1020, 1029 (N.D. Ohio 2010);

McDowall v. Cogan, 216 F.R.D. 46, 48-50 (E.D. N.Y. 2003). The issue is presently pending

before the United States Supreme Court, Gomez v. Campbell-Ewald Co., 768 F.3d 871 (9th

Cir.2014), cert. Granted, ---U.S.---, 135 S.Ct 2311, 191 L.Ed.2d 977 (2015).




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       Plaintiff has served discovery but no responses have been filed. Plaintiff has not been

afforded the opportunity to develop a full factual record in this case. Plaintiff will supplement its

motion and brief in support of class certification after class wide discovery has been completed

and as directed by a scheduling order entered by the court. Until then, Plaintiff cites to its Class

Action Petition.

                                          ARGUMENT

I.     Standards governing class certification.

       The Missouri Supreme Court has noted that class actions are “designed to promote

judicial economy by permitting the litigation of the common questions of law and fact of

numerous individuals in a single proceeding.” State ex rel. Union Planters Bank, N.A. v.

Kendrick, 142 S.W.3d 729, 735 (Mo.banc 2004). “Class actions … permit the plaintiffs to pool

claims which would be uneconomical to litigate individually. [M]ost of the plaintiffs would

have no realistic day in court if a class action were not available.” Phillips Petroleum v. Shutts,

472 U.S. 797, 808-809 (1985). Moreover, “[b]ecause class certification can be modified as the

case progresses, courts should err in favor of, and not against, certifying a class.” Doyle v. Fluor

Corp., 199 S.W.3d 784, 787-88 (Mo. App. 2006).

II.    The weight of authority favors certification.

       Courts in Missouri have certified TCPA cases. See Fun Services of Kansas City, Inc. v.

Parrish Love d/b/a Asphalt Wizards Case No. 0816CV00064 (Cir. Ct. Jackson Cty, Mo. May 24,

2010), Interlocutory Appeal #WD72566 was denied by Missouri Court of Appeals on June 23,

2010, writ was filed by Defendant in the Missouri Supreme Court #SC91037 and was denied on

August 31, 2010; Clean Carton Co., Inc., et al. v. Prime TV, LLC, et al. Case No 01AC-11582

2004 TCPA Rep. 1294 (Mo. Cir. July 13, 2004). Judge Nixon certified a TCPA class and

appellate review was denied. Missouri Information Solutions, Inc. v. KC Subs, Inc., Case No.


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0516-CV17319, 2008 WL 5631046 (Cir. Ct. Jackson, Cty, Mo. Dec. 16, 2008), petition for

interlocutory appeal denied, (Jan. 22, 2009 Mo. Ct. of Appeals, Western Dist., Class Action

Division). See also Karen S. Little, LLC v. Drury Inns, Inc., 2010 WL 98002 (Mo. App. E.D.

Jan. 12, 2010).

III.   The proposed class.

       Plaintiff proposes the following class definitions:

                  All persons who (1) on or after four years prior to the filing of this
                  action, (2) were sent by or on behalf of Defendants any telephone
                  facsimile transmissions of material making known the commercial
                  existence of, or making qualitative statements regarding any
                  property, goods, or services (3) with respect to whom Defendants
                  cannot provide evidence of prior express permission or invitation
                  for the sending of such faxes, (4) with whom Defendants does not
                  have an established business relationship or (5) which were sent an
                  advertisement by fax which did not display a proper opt out notice.

The Court should certify the Class, so this controversy can be resolved in a single action, rather

than through separate individual actions.

IV.    The Court should certify the TCPA claims for classwide resolution.

       In order to maintain a class action, Plaintiff must show (1) that the class is so numerous

that joinder of all members is impracticable, (2) that there are questions of law or fact common to

the class, (3) that the representative party’s claims are typical to those of the class, (4) that the

representative party will fairly and adequately protect the interests of the class, and (5) only one

of three 52.08(b) elements, which are risks of inconsistent adjudications; the appropriateness of

final injunctive or declaratory relief with respect to the class as a whole; and predominance of

common questions of fact or law. See Rule 52.08 of the Missouri Supreme Court Rules. Each of

the elements is satisfied here.




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       A.      Numerosity.

       Under Rule 52.08(a)(1), to bring a class action, the class must be “so numerous that

joinder of all members is impracticable.” Rule 52.08(a)(1). Plaintiff must show only that joinder

is impracticable through some evidence or reasonable, good faith estimate of the number of

purported class members. Dale v. DaimlerChrysler Corp., 204 S.W.3d 151, 167 (Mo. App.

2006). See Class Action Petition, ¶¶ 11-21, 37.a and Exhibits A1a through B14. Rule

52.08(a)(1)’s numerosity requirement is satisfied because individual joinder of those persons

would be impracticable.

       B.      Commonality.

       While relief to the various members of a class need not be uniform, the requisite

commonality of law or fact must be present. Grosser, Inc, 647 S.W.2d 911. This does not mean

that all class members must be identically situated. Renstcher v. Carnahan, 160 F.R.D. 114, 116

(E.D. Mo. 1995). Further, factual differences are not fatal to maintenance of the class action if

common questions of law or fact exist. Because a single issue common to all class members is all

that is required, commonality is easily met in most cases. Renstcher, 160 F.R.D. at 116; Crain v.

Missouri State Employees Retirement System, 613 S.W.2d 912 (Mo. App. 1981). See Class

Action Petition, ¶¶ 37.b. i-x.

               a.      Whether Defendants violated the TCPA by faxing advertisements without
                       first obtaining express invitation or permission to do so;

               b.      Whether Plaintiff and the other class members are entitled to statutory
                       damages;

               c.      Whether Defendants violated the TCPA by faxing advertisements without
                       a compliant opt-out notice; and

               d.      Whether Defendants’ acts were “willful” or “knowing” under the TCPA
                       and, if so, whether Plaintiff and the other class members are entitled to
                       trebled damages.



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       C.      Typicality.

       In order to meet the typicality requirement, a class representative must “be part of the

class and possess the same interest and suffer the same injury as the class members.” Koger v.

Hartford Life Ins. Co., 28 S.W.3d 405, 410 (Mo. App. 2000). The named plaintiff and the other

members of the class need only share an interest in prevailing on similar legal claims. Phillips v.

Hallmark Cards, Inc., 722 S.W.2d 86 (Mo. App. 1986). Here, typicality is inherent in the class

definition. Each of the class members was subjected to the same conduct. Each member’s claim

is based on the same legal theory as Plaintiff’s.

       D.      Adequacy of representation.

       Because a class action affects the rights of absent class members, Missouri Rule 52.08

(a)(4), like its federal counterpart, requires the trial court to determine whether the representative

party will fairly and adequately represent the interests of the class. Rule 52.08(a)(4); Kendrick,

142 S.W.3d at 735. Adequacy of representation is a fact issue that must be determined under the

circumstances of each case. Craft v. Philip Morris Cos., Inc., 190 S.W.3d 368, 379 (Mo. App.

2005), citing City of O’Fallon v. Bethman, 569 S.W.2d 295, 299 (Mo. App. 1978).

       Here, Plaintiff and the other class members seek statutory damages under the TCPA.

Plaintiff understands its obligations and the nature of the claims, is involved in the litigation, and

is interested in representing the class and enforcing the TCPA. Further, Plaintiff’s counsel are

experienced TCPA class action lawyers and they are adequate counsel for the class. Plaintiff’s

counsel have been litigating TCPA claims for many years. They have prosecuted dozens of

these cases to successful resolution. They have successfully litigated insurance coverage actions

about TCPA claims as well. Plaintiff’s counsel will continue to commit adequate resources

(staffing and monetary) to ensure that the class is properly represented. See Class Action

Petition, ¶ 38. Therefore, Rule 52.08 (a)(4)’s “adequacy” requirement is satisfied.


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       E.        Rule 52.08(b) requirements.

       To maintain a class action in Missouri, plaintiff must prove only one of the three 52.08(b)

elements. These elements are identical to those in Federal Rule 23, and involve the risks of

inconsistent adjudications ((b)(1)); the appropriateness of final injunctive or declaratory relief

with respect to the class as a whole ((b)(2)); and predominance of common questions of fact or

law ((b)(3)). Plaintiff seeks certification under (b)(1) and (b)(3). See Class Action Petition, ¶¶ 37-

39.

       Common fact issues predominate in this case because the class members’ claims are

focused on Defendant’s fax advertising campaigns. Further, from the perspective of the court

system and the class members, a class action is superior to individual actions because the

maximum recovery for each class member is $1,500 and the TCPA does not allow for fee

shifting. Certification of this case as a class action would further the purposes of Rule 52.08. See

Class Action Petition, ¶¶ 37-39.

                                          CONCLUSION

       All the class members were treated the same by the same course of conduct by

Defendant. The mandatory elements of Rule 52.08” are met. Missouri Information, 2008 WL

5631046 at 15.

       Here, the circumstances are nearly identical. The proposed class meets the requirements

of Rules 52.08. Therefore, Plaintiff requests that the Court certify the class, appoint Plaintiff as

the class representative, and appoint Plaintiff’s attorneys as class counsel.




                                                  7
                                                                                             Electronically Filed - St Louis County - June 21, 2022 - 07:50 PM
                           Respectfully submitted,

                                     /s/ Max G. Margulis
                                Max G. Margulis, #24325
                             MARGULIS LAW GROUP
                                28 Old Belle Monte Rd.
                                Chesterfield, MO 63017
                            P: (636) 536-7022 – Residential
                            F: (636) 536-6652 – Residential
                        E-Mail: MaxMargulis@MargulisLaw.com
                                 Attorney for Plaintiff

Brian J. Wanca
ANDERSON + WANCA
3701 Algonquin Road, Suite 500
Rolling Meadows, IL 60008
P: (847) 368-1500
F: (847) 368-1501
E-Mail: bwanca@andersonwanca.com



                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was served on the Defendants MEDICAL
DISPOSABLES CORP, RALPH HERNANDEZ, and JENNIFER MUNOZ at the same time as
the petition.

                                  /s/ Max G. Margulis




                                            8
                                                                                                                                                 Electronically Filed - St Louis County - June 21, 2022 - 07:50 PM
                                                                                                            22SL-CC03010
In the
CIRCUIT COURT                                                                                              ň                                 ŉ
Of St. Louis County, Missouri
                                                                                                                    For File Stamp Only


                                                              June 21, 2022
                                                             _________________________
__________________________________________
 Marilyn Margulis                                            Date
Plaintiff/Petitioner
                                                             _________________________
                                                             Case Number
vs.
                                                             _________________________
 Medical Disposables Corp, Ralph Hernandez
__________________________________________                   Division
Defendant/Respondent
 Jennifer Munoz & John Does 1-10
                                                                                                           Ŋ                                 ŋ

                       REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Max G. Margulis, Attorney for Plaintiff                 pursuant
                                                    Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         Winona Hunt, Robin Owens, Family Court & Services, LLC, 725 E Alfred St, Tavares, FL 32778
        Name of Process Server                              Address                                                              Telephone

        ___________________________________________________________________________
                  Office: 352-343-3991,
        Name of Process Server                              Address or in the Alternative                                        Telephone

        ___________________________________________________________________________
        Name of Process Server                              Address or in the Alternative                                        Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.
                       Medical Disposables Corp.,                                           Individual
        SERVE:                                                            SERVE:
         Jennifer Munoz, Registered Agent
        ____________________________________________                       Jennifer Munoz
                                                                          ____________________________________________
        Name                                                              Name
         6831 Edgewater Commerce Pkwy, Suite 1101
        ____________________________________________                       3352 Stonewyck St
                                                                          ____________________________________________
        Address                                                           Address
         Orlando FL 32810
        ____________________________________________                       Orlando, FL 32824
                                                                          ____________________________________________
        City/State/Zip Orange County                                      City/State/Zip Orange County

        SERVE: Individual                                                 SERVE:
         Ralph Hernandez
        ____________________________________________                      ____________________________________________
        Name                                                              Name
         3352 Stonewyck St
        ____________________________________________                      ____________________________________________
        Address                                                           Address
         Orlando, FL 32824
        ____________________________________________                      ____________________________________________
        City/State/Zip                                                    City/State/Zip
                         Orange County                                                        County

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                                      /s/ Max G. Margulis
                                                                          ___________________________________________
                                                                          Signature of Attorney/Plaintiff/Petitioner
                                                                           24325
                                                                          ___________________________________________
        By ________________________________________                       Bar No.
            Deputy Clerk                                                   28 Old Belle Monte Rd, Chesterfield MO 63017
                                                                          ___________________________________________
                                                                          Address
        ___________________________________________                       ___________________________________________
                                                                           636-536-7022 - Residential        636-536-6652 - Residential
        Date                                                              Phone No.                                          Fax No.



        CCADM62-WS         Rev. 08/16
                                                                                     Electronically Filed - St Louis County - June 21, 2022 - 07:50 PM
Local Rule 28. SPECIAL PROCESS SERVERS

      (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment [except as
allowed by Missouri Supreme Court Rule 90.03(a)].

            This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

             (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, [except as allowed by Missouri Supreme Court Rule 90.03(a)], or
other taking.

            (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
http://www.stlouisco.com. (LawandPublicSafety/Circuit/Forms).

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

             SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.


CCADM62-WS    Rev. 08/16
                                                                                                                                                 Electronically Filed - St Louis County - June 21, 2022 - 07:50 PM
                                                                                                            22SL-CC03010
In the
CIRCUIT COURT                                                                                              ň                                 ŉ
Of St. Louis County, Missouri
                                                                                                                    For File Stamp Only


                                                              June 21, 2022
                                                             _________________________
__________________________________________
 Marilyn Margulis                                            Date
Plaintiff/Petitioner
                                                             _________________________
                                                             Case Number
vs.
                                                             _________________________
 Medical Disposables Corp, Ralph Hernandez
__________________________________________                   Division
Defendant/Respondent
 Jennifer Munoz & John Does 1-10
                                                                                                           Ŋ                                 ŋ

                       REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Max G. Margulis, Attorney for Plaintiff                 pursuant
                                                    Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         Winona Hunt, Robin Owens, Family Court & Services, LLC, 725 E Alfred St, Tavares, FL 32778
        Name of Process Server                              Address                                                              Telephone

        ___________________________________________________________________________
                  Office: 352-343-3991,
        Name of Process Server                              Address or in the Alternative                                        Telephone

        ___________________________________________________________________________
        Name of Process Server                              Address or in the Alternative                                        Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.
                       Medical Disposables Corp.,                                           Individual
        SERVE:                                                            SERVE:
         Jennifer Munoz, Registered Agent
        ____________________________________________                       Jennifer Munoz
                                                                          ____________________________________________
        Name                                                              Name
         6831 Edgewater Commerce Pkwy, Suite 1101
        ____________________________________________                       3352 Stonewyck St
                                                                          ____________________________________________
        Address                                                           Address
         Orlando FL 32810
        ____________________________________________                       Orlando, FL 32824
                                                                          ____________________________________________
        City/State/Zip Orange County                                      City/State/Zip Orange County

        SERVE: Individual                                                 SERVE:
         Ralph Hernandez
        ____________________________________________                      ____________________________________________
        Name                                                              Name
         3352 Stonewyck St
        ____________________________________________                      ____________________________________________
        Address                                                           Address
         Orlando, FL 32824
        ____________________________________________                      ____________________________________________
        City/State/Zip                                                    City/State/Zip
                         Orange County                                                        County

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                                      /s/ Max G. Margulis
                                                                          ___________________________________________
                                                                          Signature of Attorney/Plaintiff/Petitioner
                                                                           24325
                                                                          ___________________________________________
                   /s/Jeremy Smith
        By ________________________________________                       Bar No.
            Deputy Clerk                                                   28 Old Belle Monte Rd, Chesterfield MO 63017
                                                                          ___________________________________________
                                                                          Address
        ___________________________________________
                       6/22/2022                                          ___________________________________________
                                                                           636-536-7022 - Residential        636-536-6652 - Residential
        Date                                                              Phone No.                                          Fax No.



        CCADM62-WS         Rev. 08/16
                                                                                     Electronically Filed - St Louis County - June 21, 2022 - 07:50 PM
Local Rule 28. SPECIAL PROCESS SERVERS

      (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment [except as
allowed by Missouri Supreme Court Rule 90.03(a)].

            This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

             (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, [except as allowed by Missouri Supreme Court Rule 90.03(a)], or
other taking.

            (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
http://www.stlouisco.com. (LawandPublicSafety/Circuit/Forms).

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

             SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.


CCADM62-WS    Rev. 08/16
               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 22SL-CC03010
 JOHN N. BORBONUS III
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 MIDWEST HEMORRHOID TREATMENT                                MAX GEORGE MARGULIS
 CENTER TOWN & COUNTRY LLC                                   28 OLD BELLE MONTE ROAD
                                                             CHESTERFIELD, MO 63017
                                                       vs.
 Defendant/Respondent:                                       Court Address:
 MEDICAL DISPOSABLES CORP                                    ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                             105 SOUTH CENTRAL AVENUE
                                                             CLAYTON, MO 63105
 CC Injunction                                                                                                               (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                       (Except Attachment Action)
    The State of Missouri to: MEDICAL DISPOSABLES CORP
                              Alias:
  R/A JENNIFER MUNROZ SUITE 1101
  6831 EDGEWATER COMMERCE PKWY
  ORLANDO, FL 32810
     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                              notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov, or
                              through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
    ST. LOUIS COUNTY          proceeding.

                                 22-JUN-2022                                        ____________________________________________________
                                   Date                                                                        Clerk
                                Further Information:
                                JS
                                                 Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _________________________________, a person at least 18 years of age residing therein.

                 (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                  _____________________________________________ (name) _____________________________________________ (title).
                 other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________        ___________________________________________________________
                  Printed Name of Sheriff or Server                                       Signature of Sheriff or Server
                                Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                I am: (check one)    the clerk of the court of which affiant is an officer.
                                                     the judge of the court of which affiant is an officer.
                                                     authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                      (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                            ___________________________________________________________
                                                                                                  Signature and Title




OSCA (7-04) SM60 For Court Use Only: Document ID# 22-SMOS-550      1        (22SL-CC03010)                             Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                               506.500, 506.510 RSMo
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                            See the following page for directions to clerk and to officer making return on service of summons.




                                   Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion and/or petition must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion and/or petition when offered to him, the return
     shall be prepared to show the offer of the officer to deliver the summons and motion and/or petition and the
     Defendant’s/Respondent's refusal to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the individual personally or by
     leaving a copy of the summons and motion and/or petition at the individual's dwelling house or usual place of abode with
     some person of the family over 15 years of age, or by delivering a copy of the summons and motion and/or petition to an agent
     authorized by appointment or required by law to receive service of process; (2) On Guardian. On an infant or incompetent
     person who has a legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the guardian
     personally; (3) On Corporation, Partnership or Other Unincorporated Association. On a corporation, partnership or
     unincorporated association, by delivering a copy of the summons and motion and/or petition to an officer, partner, or
     managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent with the person
     having charge thereof or by delivering copies to its registered agent or to any other agent authorized by appointment or
     required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. On a public, municipal,
     governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case
     of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body
     or to any person otherwise lawfully so designated.

          Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

          Service may be made in any state or territory in the United States. If served in a territory, substitute the word "territory"
     for the word "state."

          The officer making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant's authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than sixty days from the date the Defendant/Respondent is to appear
     in court. The return should be made promptly, and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 22-SMOS-550          2         (22SL-CC03010)                                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                         506.500, 506.510 RSMo
                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                     Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.
CCADM73

OSCA (7-04) SM60 For Court Use Only: Document ID# 22-SMOS-550   3    (22SL-CC03010)        Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                   506.500, 506.510 RSMo
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73




OSCA (7-04) SM60 For Court Use Only: Document ID# 22-SMOS-550   4   (22SL-CC03010)       Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 22SL-CC03010
 JOHN N. BORBONUS III
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 MIDWEST HEMORRHOID TREATMENT                                MAX GEORGE MARGULIS
 CENTER TOWN & COUNTRY LLC                                   28 OLD BELLE MONTE ROAD
                                                             CHESTERFIELD, MO 63017
                                                       vs.
 Defendant/Respondent:                                       Court Address:
 MEDICAL DISPOSABLES CORP                                    ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                             105 SOUTH CENTRAL AVENUE
                                                             CLAYTON, MO 63105
 CC Injunction                                                                                                               (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                       (Except Attachment Action)
    The State of Missouri to: RALPH HERNANDEZ
                              Alias:
  3352 STONEWYCK ST
  ORLANDO, FL 32824


     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                              notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov, or
                              through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
    ST. LOUIS COUNTY          proceeding.

                                 22-JUN-2022                                        ____________________________________________________
                                   Date                                                                        Clerk
                                Further Information:
                                JS
                                                 Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _________________________________, a person at least 18 years of age residing therein.

                 (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                  _____________________________________________ (name) _____________________________________________ (title).
                 other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________        ___________________________________________________________
                  Printed Name of Sheriff or Server                                       Signature of Sheriff or Server
                                Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                I am: (check one)    the clerk of the court of which affiant is an officer.
                                                     the judge of the court of which affiant is an officer.
                                                     authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                      (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                            ___________________________________________________________
                                                                                                  Signature and Title




OSCA (7-04) SM60 For Court Use Only: Document ID# 22-SMOS-551      1        (22SL-CC03010)                             Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                               506.500, 506.510 RSMo
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                            See the following page for directions to clerk and to officer making return on service of summons.




                                   Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion and/or petition must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion and/or petition when offered to him, the return
     shall be prepared to show the offer of the officer to deliver the summons and motion and/or petition and the
     Defendant’s/Respondent's refusal to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the individual personally or by
     leaving a copy of the summons and motion and/or petition at the individual's dwelling house or usual place of abode with
     some person of the family over 15 years of age, or by delivering a copy of the summons and motion and/or petition to an agent
     authorized by appointment or required by law to receive service of process; (2) On Guardian. On an infant or incompetent
     person who has a legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the guardian
     personally; (3) On Corporation, Partnership or Other Unincorporated Association. On a corporation, partnership or
     unincorporated association, by delivering a copy of the summons and motion and/or petition to an officer, partner, or
     managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent with the person
     having charge thereof or by delivering copies to its registered agent or to any other agent authorized by appointment or
     required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. On a public, municipal,
     governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case
     of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body
     or to any person otherwise lawfully so designated.

          Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

          Service may be made in any state or territory in the United States. If served in a territory, substitute the word "territory"
     for the word "state."

          The officer making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant's authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than sixty days from the date the Defendant/Respondent is to appear
     in court. The return should be made promptly, and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 22-SMOS-551          2         (22SL-CC03010)                                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                         506.500, 506.510 RSMo
                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                     Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.
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OSCA (7-04) SM60 For Court Use Only: Document ID# 22-SMOS-551   3    (22SL-CC03010)        Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                   506.500, 506.510 RSMo
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-04) SM60 For Court Use Only: Document ID# 22-SMOS-551   4   (22SL-CC03010)       Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 22SL-CC03010
 JOHN N. BORBONUS III
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 MIDWEST HEMORRHOID TREATMENT                                MAX GEORGE MARGULIS
 CENTER TOWN & COUNTRY LLC                                   28 OLD BELLE MONTE ROAD
                                                             CHESTERFIELD, MO 63017
                                                       vs.
 Defendant/Respondent:                                       Court Address:
 MEDICAL DISPOSABLES CORP                                    ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                             105 SOUTH CENTRAL AVENUE
                                                             CLAYTON, MO 63105
 CC Injunction                                                                                                               (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                       (Except Attachment Action)
    The State of Missouri to: JENNIFER MUNOZ
                               Alias:
  3352 STONEWYCK ST
  ORLANDO, FL 32824


     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                              notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov, or
                              through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
    ST. LOUIS COUNTY          proceeding.

                                 22-JUN-2022                                        ____________________________________________________
                                   Date                                                                        Clerk
                                Further Information:
                                JS
                                                 Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _________________________________, a person at least 18 years of age residing therein.

                 (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                  _____________________________________________ (name) _____________________________________________ (title).
                 other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________        ___________________________________________________________
                  Printed Name of Sheriff or Server                                       Signature of Sheriff or Server
                                Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                I am: (check one)    the clerk of the court of which affiant is an officer.
                                                     the judge of the court of which affiant is an officer.
                                                     authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                      (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                            ___________________________________________________________
                                                                                                  Signature and Title




OSCA (7-04) SM60 For Court Use Only: Document ID# 22-SMOS-552      1        (22SL-CC03010)                             Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                               506.500, 506.510 RSMo
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                            See the following page for directions to clerk and to officer making return on service of summons.




                                   Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion and/or petition must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion and/or petition when offered to him, the return
     shall be prepared to show the offer of the officer to deliver the summons and motion and/or petition and the
     Defendant’s/Respondent's refusal to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the individual personally or by
     leaving a copy of the summons and motion and/or petition at the individual's dwelling house or usual place of abode with
     some person of the family over 15 years of age, or by delivering a copy of the summons and motion and/or petition to an agent
     authorized by appointment or required by law to receive service of process; (2) On Guardian. On an infant or incompetent
     person who has a legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the guardian
     personally; (3) On Corporation, Partnership or Other Unincorporated Association. On a corporation, partnership or
     unincorporated association, by delivering a copy of the summons and motion and/or petition to an officer, partner, or
     managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent with the person
     having charge thereof or by delivering copies to its registered agent or to any other agent authorized by appointment or
     required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. On a public, municipal,
     governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case
     of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body
     or to any person otherwise lawfully so designated.

          Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

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                                                                                                                                         506.500, 506.510 RSMo
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    Alternative dispute resolution services and procedures are available that may help the parties settle
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                                                                                                 506.500, 506.510 RSMo
                                                                                                      Electronically Filed - St Louis County - July 13, 2022 - 05:06 PM
STATE OF MISSOURI             )
                              )
COUNTY OF ST. LOUIS           )

                IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
                               STATE OF MISSOURI

 MIDWEST HEMORRHOID TREATMENT CENTER
 TOWN & COUNTRY, LLC., individually and on                    Cause No. 22SL-CC03010
 behalf of all others similarly-situated,
                                                              Division 6
        Plaintiff,

 v.

 MEDICAL DISPOSABLES CORP,
 RALPH HERNANDEZ, JENNIFER MUNOZ
 and JOHN DOES 1-10,

        Defendants.

              MOTION FOR EXTENSION OF TIME TO SERVE
       DEFENDANTS MEDICAL DISPOSABLES CORP, RALPH HERNANDEZ,
                        and JENNIFER MUNOZ

       Plaintiff, pursuant to Mo. S. Ct. R. 54.21, requests that the service deadline on the

summonses on Defendants MEDICAL DISPOSABLES CORP, RALPH HERNANDEZ, and

JENNIFER MUNOZ be extended from 30 (thirty) days to 90 (ninety) days from issuance of the

summonses in order to allow sufficient time to obtain service.             Defendants MEDICAL

DISPOSABLES CORP, RALPH HERNANDEZ, and JENNIFER MUNOZ reside outside of

Missouri.

            The initial addresses available for Defendants MEDICAL DISPOSABLES CORP,

RALPH HERNANDEZ, and JENNIFER MUNOZ from public records were inaccurate and skip

traces are being performed to obtain new addresses for service. This process is taking additional

time. The current return date is July 22, 2022. For the above reasons Plaintiff requests the return



                                               Page 1
                                                                                                      Electronically Filed - St Louis County - July 13, 2022 - 05:06 PM
date for the summons be extended to September 22, 2022. Said request is being made before the

initial summons period is set to expire.



         Wherefore the Plaintiff requests the Court extend the time for the summons return on

Defendants MEDICAL DISPOSABLES CORP, RALPH HERNANDEZ, and JENNIFER

MUNOZ to September 22, 2022.




_____________________________________                       ______________________________
SO ORDERED                                                  Date


                                      /s/ Max G. Margulis
                                    Max G. Margulis, #24325
                                 MARGULIS LAW GROUP
                                    28 Old Belle Monte Rd.
                                    Chesterfield, MO 63017
                                P: (636) 536-7022 - Residential
                            E-Mail: MaxMargulis@MargulisLaw.com
                                     Attorneys for Plaintiff




                                 CERTIFICATE OF SERVICE

The undersigned verifies that the attorney named above signed the original of this document, and
the original is maintained at the office of the attorney. I hereby certify that on the 13th day of
July, 2022, I submitted the foregoing to be electronically filed with the Court’s electronic filing
system.
                                          /s/ Max G. Margulis




                                               Page 2
Electronically Filed - St Louis County - July 20, 2022 - 06:01 PM
Electronically Filed - St Louis County - July 20, 2022 - 06:01 PM
Electronically Filed - St Louis County - July 20, 2022 - 06:01 PM
